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                              UNITED STATES DISTRICT COURT

                              SOUTHERN DISTRICT OF FLORIDA

 DCR WORKFORCE, INC.                              )   Case No.:
                                                  )
                Plaintiff,                        )
                                                  )   NOTICE OF REMOVAL OF STATE
        v.                                        )   COURT CIVIL ACTION
                                                  )
 COUPA SOFTWARE INCORPORATED,                     )   Removed from the Circuit Court of the 15th
                                                  )   Judicial Circuit in and for Palm Beach County,
                Defendant.                        )
                                                  )   Florida
                                                  )   Case No. 50-2021-CA-006661-XXXX-MB
                                                  )
                                                  )
                                                  )

                                    NOTICE OF REMOVAL
        PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,

 Defendant Coupa Software Incorporated (“Coupa”), a Delaware corporation, by and through the

 undersigned counsel, hereby removes the above-styled state court civil action currently pending in

 the Circuit Court of the 15th Judicial Circuit, in and for Palm Beach County, Florida, to the United

 States District Court for the Southern District of Florida. In support of this Notice of Removal,

 Coupa avers the following:

        1.      On May 26, 2021, Plaintiff DCR Workforce, Inc. filed this civil action in the Circuit

 Court of the 15th Judicial Circuit, in and for Palm Beach County, Florida, captioned as DCR

 Workforce, Inc. v. Coupa Software Incorporated (the “State Court Action”). True and accurate

 copies of all process, pleadings, and orders served in the State Court Action are attached as

 Exhibit A.

        2.      Coupa has been served with copies of the attached Complaint and Summons.
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        3.      This Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b), since the Notice

 of Removal is being filed within 30 days of the filing of the complaint in the State Court Action.

        4.      Coupa has not pleaded, answered, or otherwise appeared in the State Court Action.

        5.      Coupa reserves the right to amend and/or supplement this Notice of Removal.

                                         JURISDICTION

        6.      This Court has original subject-matter jurisdiction over this action pursuant to

 28 U.S.C. § 1332 (“Section 1332”). Section 1332 imposes two threshold requirements for federal

 district courts to exercise original subject-matter jurisdiction over civil cases removed from state

 court, pursuant to 28 U.S.C. §§ 1441 and 1446. First, the party seeking removal must establish that

 the action is between “citizens of different states.” 28 U.S.C. § 1332(a)(1). For actions removed to

 federal court pursuant to 28 U.S.C. § 1441, corporations are considered to be a citizen of their

 respective state of incorporation, and “the State or foreign state where [the corporation] has its

 principal place of business.” 28 U.S.C. § 1332(c)(1).

        7.      In the State Court Action, the Plaintiff DCR Workforce, Inc. is a Florida

 corporation with its principal place of business in Florida. (Compl. at ¶ 1). Coupa is a California

 corporation with its principal place of business in San Mateo County, California. (Compl. at ¶ 2).

 Thus, the parties are completely diverse for purposes of Section 1332.

        8.      Section 1332 also requires that the amount in controversy in the removed action

 exceed $75,000. 28 U.S.C. § 1332(a). In the State Court Action, the Plaintiff raises legal and

 equitable claims, and seeks damages of at least $72,336,752. (See Compl. at ¶¶ 75, 94, 107).

        9.      Because this litigation involves parties of diverse citizenship and the amount in

 controversy exceeds $75,000, this district court has original subject matter jurisdiction over the

 State Court Action under 28 U.S.C. § 1332.



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        10.     Pursuant to 28 U.S.C. § 1446(d), Coupa will promptly serve a copy of this Notice

 of Removal on Plaintiff’s attorneys of record and a copy is being filed with the Clerk of the Circuit

 Court of the 15th Judicial District, in and for Palm Beach County, Florida.

  Dated: June 16, 2021

                                                 Respectfully submitted,


                                                 GUNSTER, YOAKLEY & STEWART, P.A.
                                                 450 East Las Olas Boulevard, Suite 1400
                                                 Fort Lauderdale, FL 33301
                                                 Telephone:    (954) 462-2000
                                                 Facsimile:    (954) 523-1722

                                                 By: /s/ Michael W. Marcil
                                                 Michael W. Marcil, Esq.
                                                 Florida Bar No.: 091723
                                                 mmarcil@gunster.com


                                                 KATTEN MUCHIN ROSENMAN LLP
                                                 (PRO HAC VICE MOTIONS
                                                 FORTHCOMING)

                                                       BRUCE G. VANYO
                                                       CHRISTINA L. COSTLEY
                                                       KATTEN MUCHIN ROSENMAN LLP
                                                       575 Madison Avenue #14
                                                       New York, NY 10022
                                                       Telephone: (212) 940-8800
                                                       Facsimile: (212) 940-8776
                                                       bruce@kattenlaw.com
                                                       christina.costley@kattenlaw.com

                                                       Attorneys for Defendant Coupa Software
                                                       Incorporated




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